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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. _______________


  JACK D. HERNANDEZ d/b/a OCEAN VIBES
  MUSIC PUBLISHING, and DICK ALFREDO
  CABALLERO RODRIGUEZ a/k/a ALFR3D BEATS,

                               Plaintiffs,
         -against-

  UMG RECORDINGS, INC. d/b/a UNIVERSAL
  MUSIC GROUP d/b/a UNIVERSAL MUSIC LATINO,
  CAROLINA GIRALDO NAVARRO a/k/a KAROL G,
  EDWIN VASQUEZ VEGA a/k/a MALDY, MARVIN
  HAWKINS RODRIGUEZ a/k/a DJ MAFF, JULIO
  MANUEL GONZALEZ TAVAREZ a/k/a LENNY
  TAVEREZ, and JUSTIN QUILES,

                          Defendants.
  _________________________________________________/

                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiffs Jack D. Hernandez d/b/a Ocean Vibes Music Publishing (“Ocean Vibes”) and

  Dick Alfredo Caballero Rodriguez a/k/a Alfr3d Beats (“Alfr3d,” and together with Ocean Vibes,

  “Plaintiffs”), by and through their undersigned counsel, as and for their Complaint against UMG

  Recordings, Inc. d/b/a Universal Music Group d/b/a/ Universal Music Latino (“UMG”), Carolina

  Giraldo Navarro a/k/a Karol G (“Karol G”), Edwin Vasquez Vega a/k/a Maldy (“Maldy”), Marvin

  Hawkins Rodriguez a/k/a DJ Maff (“DJ Maff”), Julio Manuel Gonzalez Tavárez a/k/a Lenny

  Tavárez (“Tavárez”), and Justin Quiles (“Quiles,” and together with UMG, Karol G, Maldy, DJ

  Maff, and Tavárez, “Defendants”), hereby allege as follows:
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                                  PRELIMINARY STATEMENT

         1.      Karol G is a world-famous singer, songwriter, performer, and producer. One of her

  numerous hit songs, Gatúbela, officially released on August 25, 2022, debuted and peaked at

  number 4 on the U.S. Billboard Hot Latin Songs chart, number 23 on the Billboard Global 200

  chart, and number 37 on the U.S. Billboard Hot 100 Chart. The song also reached number 1 on

  the Billboard Colombia chart, as well as the Billboard U.S. Latin Rhythm Airplay chart. It was

  nominated for “Best Reggaeton Performance” at the 2023 Latin Grammy Awards, and it won both

  “Urban Collaboration of the Year” at the 2024 Los Nuestro Awards and “Award Winning Song”

  at the 2024 BMI Latin Awards.

         2.      By all accounts, Gatúbela has been an enormous commercial success and has

  generated (and continues to generate) millions of dollars in revenue and profits for Defendants. In

  For example, the “official” music video for Gatúbela has garnered more than half a billion views

  on YouTube (571,499,176, as of March 10, 2025, and counting) since it was published on August

  25, 2022. The song became a certified “13x Platinum” record, according to the Recording Industry

  Association of America, as of March 22, 2023. Moreover, between August 10, 2023, and July 23,

  2024, Karol G regularly performed the song during her arena-stadium Mañana Será Bonito Tour,

  which was reportedly the highest-grossing Latin touring act of 2023, taking in $153.3 million in

  revenue and selling 925,000 tickets over 20 shows.

         3.      However, by every method of analysis, Gatúbela is a forgery – copied from Alfr3d,

  who created, produced, and published his original song entitled Punto G (also referred to herein

  as the “Work”), more than six weeks earlier.

         4.      Significantly, DJ Maff previewed the release of Gatúbela in an Instagram post on

  Augst 22, 2022, including a clip of the music video for the song and writing, in relevant part,




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  “GATÚBELA @karolg agradecido contigo Gg, la rompiste . . . .” (translated: “GATÚBELA

  @karolg grateful to you Gg, you smashed it . . . .”). Upon hearing Gatúbela for the first time,

  Alfr3d immediately recognized and commented that the melody was stolen, and DJ Maff

  shockingly admitted this was true, responding “no le digas a nadie” (translated: “don’t tell

  anybody”), accompanied by a laughing emjoi:




         5.     As part of his attempt to cover up his admitted theft and misappropriation, DJ Maff

  would later delete both Alfr3d’s comment and his own response from Instagram.

         6.     Regardless, a comparison of the two songs is all that is necessary to demonstrate

  that Gatúbela was copied from the Work.

         7.     A highly regarded musicology expert has carefully compared Gatúbela and the

  Work and found, without limitation, that: both the main synthesizer riff and vocal chorus melody

  of Gatúbela are extremely similar to the synth melody of the Work; such similarities would not

  have occurred by chance alone; and such similarities cannot be explained away by prior art.

         8.     Indeed, according to the expert musicologist, the level of similarity between

  Gatúbela and the Work is “one we almost never see.”

         9.     Numerous non-expert listeners have separately drawn the conclusion that

  Defendants copied Punto in their creation of Gatúbela.




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         10.     For these reasons and others, as set forth in greater detail below, Defendants have

  unlawfully exploited the Work, and they have – with actual knowledge and fraudulent intent –

  infringed upon, and continue to infringe upon, Plaintiffs’ copyrights for the Work, causing serious

  and significant damage to Plaintiffs.

                                             PARTIES

         11.     Ocean Vibes is sole proprietorship owned and operated by Jack D. Hernandez, who

  registered the fictious name “Ocean Vibes Music Publishing” with the State of Florida, Division

  of Corporations, on October 6, 2023 and is domiciled and residing in Loxahatchee, Florida.

         12.     Alfr3d is an individual composer, sound engineer, and producer, who is domiciled

  and residing in El Salvador.

         13.     Plaintiffs became owners of the statutory copyrights for the Work when they

  registered the original sound recording of the Work with the U.S. Copyright Office on November

  29, 2023 [U.S. Copyright Office Registration No. SR0000982470] and when they registered the

  composition of the Work with the U.S. Copyright Office on August 3, 2024 [U.S. Copyright Office

  Registration No. PA0002487058].

         14.     Plaintiffs’ copyright protection for the Work dates back to at least July 12, 2022,

  when Alfr3d first published the Work.

         15.     Upon information and belief, UMG is a corporation organized and existing under

  the laws of the State of California with a principal place of business located in Santa Monica,

  California, which does business as, inter alia, “Universal Music Group” and “Universal Music

  Latino.” UMG is listed as “Copyright Claimant” for the sound recording of Gatúbela registered

  with the U.S. Copyright Office on August 25, 2022 [U.S. Copyright Office Registration No.

  SR0000947602].




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         16.      Upon information and belief, Karol G is an individual domiciled and residing in

  Pinecrest, Florida, and is one of the songwriters, performers, and producers of the music, lyrics, and

  sound recording for Gatúbela.

         17.      Upon information and belief, Maldy is an individual domiciled and residing in

  Dorado, Puerto Rico, and is one of the songwriters and performers of the music, lyrics, and sound

  recording for Gatúbela.

         18.      Upon information and belief, DJ Maff is an individual domiciled and residing in

  Medellín, Colombia, and is one of the songwriters and producers of the music, lyrics, and sound

  recording for Gatúbela.

         19.      Upon information and belief, Tavárez is an individual domiciled and residing in

  Doral, Florida, and is one of the songwriters and producers of the music, lyrics, and sound recording

  for Gatúbela.

         20.      Upon information and belief, Quiles is an individual domiciled and residing in

  Miami, Florida, and is one of the composers and producers of the music, lyrics, and sound recording

  for Gatúbela.

                                       JURISDICTION & VENUE

         21.      This Court has original federal question jurisdiction under 28 U.S.C. §§ 1331 and

  1338(a) based upon Plaintiffs’ claims under the federal Copyright Act of 1976, 17 U.S.C. §§ 101

  et seq. (the “Copyright Act”).

         22.      This Court has supplemental jurisdiction over any and all state law claims alleged

  herein pursuant to 28 U.S.C. § 1367(a) in that such claims are so related to claims within the

  Court’s original jurisdiction that they form part of the same case or controversy under Article III

  of the United States Constitution.




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         23.     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)(2) in that

  a substantial part of the events or omissions giving rise to the claims asserted occurred in the

  Southern District of Florida.     In addition to the harm caused to Ocean Vibes, located in

  Loxahatchee, Florida (Palm Beach County), the infringing song Gatúbela was recorded and

  produced, in whole or in part, in Miami, Florida (Dade County) and was performed by Karol G at

  least twice at Hard Rock Stadium in Miami Gardens, Florida (Dade County) during concerts held

  on August 25, 2023 and August 26, 2023. Moreover, without limitation, Defendants have directed

  their activities and marketing of Gatúbela to residents in this judicial district, enabled residents of

  this judicial district to purchase, download, and stream the infringing work, and otherwise engaged

  in purposeful and continuing business activities in this judicial district. Defendants are, at a

  minimum, constructively aware of their continuous and substantial commercial interactions with

  residents in this judicial district and, upon information and belief, have generated substantial

  revenue from the exploitation of Gatúbela in this judicial district.

                                        FACTUAL BACKGROUND

  A.     Defendants’ Access to the Work

         24.     Alfr3d created and produced the Work in his home country of El Salvador and

  first published the Work on July 12, 2022.

         25.     Since July 12, 2022, Plaintiffs have repeatedly marketed, made available, and

  otherwise used the Work, in whole or in part, on social media, online, and elsewhere.

         26.     Since July 12, 2022, the Work has remained continuously accessible to the public

  on YouTube: https://youtu.be/706OnufqgnU?si=02vOlfLNUAOHS1i6.

         27.     On numerous occasions, Alfr3d has shared the link to the YouTube publication of

  the Work via Instagram and Facebook.




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         28.     During some of the relevant time period, the Work was also available for streaming

  and download in other web-based locations, including, but not limited to: www.alfr3dmusic.com

  (via beatstars); and https://player.beatstars.com/?storeId=117132&search_keyword=puntog.

         29.     In accordance with common custom and practice amongst aspiring music

  producers, Alfr3d identified and labeled the Work on YouTube as a “Reggaeton Beat – Carol G x

  Feid type beat | Instrumental de reggaeton” for the specific purpose of making it easy to find for

  anybody interested in the reggaeton style of music, including, without limitation, other musical

  artists and producers.

         30.     Alfr3d’s YouTube post for the Work further states, “Este beat es FREE para uso

  NO monetizado, sin fines de lucro. Si deseas subir a las diferentes plataformas digitales, debes

  comprar una licencia, si no, la cancion será bajada. CRÉDITOS EN TÍTULO/DESCRIPCIÓN

  (Prod. By Alfr3d)” (translated: “This beat is FREE for non-monetized, non-profit use. If you

  would like to upload it to different digital platforms, you must purchase a license, if not, the song

  will be taken down. CREDITS IN TITLE/DESCRIPTION (Prod. By Alfr3d).”) (emphasis added).

         11.     Alfr3d has over 14,900 subscribers on YouTube, and, as of September 27, 2024,

  the YouTube version of the Work had 3,367 views.

         12.     Upon information and belief, DJ Maff was a subscriber of Alfr3d’s YouTube

  channel at the time the Work was first published on July 12, 2022.

         13.     On July 12, 2022, i.e., the same day Alfr3d first published the Work on YouTube,

  one or more YouTube users in Colombia (the country of origin for both Karol G and DJ Maff)

  viewed the Work for a total of 1.29 hours (over 77 minutes or approximately 24 times the total

  length of the song).




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         14.     On July 16, 2022, one or more YouTube users in Colombia (the country of origin

  for both Karol G and DJ Maff) viewed the Work for a total of 0.87 hours (over 52 minutes or

  approximately 16 times the total length of the song).

         15.     Upon information and belief, Defendants did not begin (or at least never finished)

  writing, recording, and/or producing Gatúbela until after hearing the Work.

         16.     Upon information and belief, between July 12, 2022 and July 21, 2022, DJ Maff

  “fell in love with the beat” from the Work and sent it to Karol G, along with certain other beats for

  consideration, with Karol G ultimately selected the Work to serve as the musical foundation for

  Gatúbela.

         17.     Karol G, DJ Maff, and/or their associates did not reach out to Maldy for the first

  time about his involvement in Gatúbela until on or about July 21, 2022.

         18.     On or about July 21, 2022, Karol G, DJ Maff, and/or their associates gave Maldy a

  copy of the Gatúbela lyrics with his verse already written, and Maldy went to the studio in Miami

  the very next day to record his verse with Quiles.

         19.     Only four or five days later, on or about July 25, 2022 or July 26, 2022, Maldy flew

  to Barcelona for the Gatúbela video shoot with Karol G and DJ Maff.

         20.     On August 22, 2022, DJ Maff posted about the release of Gatúbela on Instagram,

  including a clip of the music video for the song, and writing, in relevant part, “GATÚBELA

  @karolg agradecido contigo Gg, la rompiste . . .” (translated: “GATÚBELA @karolg grateful to

  you Gg, you smashed it”).

         21.     On or about September 2, 2022, Alfr3d commented on DJ Maff’s August 22, 2022

  post, writing, “Rompiendo con melodias ajenas” (translated: “smashing it with other people’s

  melodies”) (emphasis added).




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         22.      On or about September 2, 2022, approximately 14 minutes after Alfr3d’s original

  comment, DJ Maff responded, “no le digas a nadie” (translated: “don’t tell anyone”) (emphasis

  added) with a laughing emoji.

         23.      Tellingly, DJ Maff deleted both Alfr3d’s original comment and his own response

  from Instagram on or about September 5, 2022 – i.e., three days after the initial interaction.

         24.      Later on September 2, 2022, Alfr3d direct messaged DJ Maff on Instagram with a

  mere salutation: “Saludos” (translated: “Greetings”).

         25.      DJ Maff responded to Alfr3d’s direct message on September 5, 2022 (i.e., the same

  date he deleted the posts described above), writing, “G mis respetos, ten en cuenta que la música

  es la misma por siempre, los mismos círculos que se combian en diferentes variaciones etc,

  conincidencias pueden suceder, te dejo claro la mía la hice hace más de 9 meses” (translated: “G

  my respects, keep in mind that music is the same forever, the same circles that combine in different

  variations etc, coincidences can happen, I'll make it clear to you that I made mine more than 9

  months ago”).

         26.      DJ Maff’s defensive response to Alfr3d’s simple salutation makes it apparent that

  DJ Maff knew Alfr3d had created the Work and believed Gatúbela was copied from the Work.

         27.      There would have been no reason for DJ Maff to write to Alfr3d about

  “coincidences” in music and the purported timing of his own work on Gatúbela if he was not aware

  of the Work and the similarities between the two songs.

         28.      Putting aside DJ Maff’s written admissions of guilt, Defendants – like the rest of

  the general public – had access to the Work prior to the creation and/or final completion and

  publication of Gatúbela by virtue of its publication by Alfr3d.




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         29.     By virtue of its publication by Alfr3d, the Work was widely disseminated prior to

  the creation and/or final completion and publication of Gatúbela.

         30.     Upon information and belief, DJ Maff has attempted to cover up his theft and

  misappropriation of the Work by deleting Alfr3d’s Instagram comment and DJ Maff’s own

  response to that comment, as described above.

         31.     Upon information and belief, DJ Maff has attempted to cover up his theft and

  misappropriation of the Work by altering files related to the creation of Gatúbela.

         32.     Although only a little over six weeks elapsed between the first publication of the

  Work on July 12, 2022 and DJ Maff’s Instagram post previewing Gatúbela on August 22, 2022,

  based on the facts set forth herein, it is likely that one or more of Defendants – most likely, starting

  with DJ Maff – accessed and listened to the Work before beginning to write, record, and/or produce

  (or, at least, before finishing) Gatúbela.

  B.     Defendants’ Infringement

         33.     The Work was created, performed, produced, and otherwise made widely available

  by Alfr3d before Defendants began to write, record, and/or produce (or, at least, before they

  finished) Gatúbela.

         34.     In fact, while Alfr3d posted the Work on YouTube on July 12, 2022, the first known

  preview of Gatúbela was published on August 22, 2022 and records of the U.S. Copyright Office

  confirm that Gatúbela was not officially published until August 25, 2022.

         35.     The similarities between the Work and Gatúbela, as described herein, are so

  strikingly similar that they cannot be purely coincidental.

         36.     Gatúbela is substantially similar to the Work in critical respects that are not just

  incidental but rather go the core of each work.




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         37.    An expert musicologist has compared the two works and found, without limitation,

  as follows:

                a.   The main compositional element of the Work is a 4-bar phrase presented by

                     a synthesizer, which constitutes approximately forty-six percent (46%) of the

                     song’s total runtime (“Phrase A”).

                b.   Gatúbela features a synthesizer riff heavily modeled after Phrase A in the

                     Work, as evidenced by seventy-seven percent (77%) rhythmic similarity and

                     seventy-three percent (73%) pitch similarity.

                c.   The Gatúbela synthesizer riff constitutes approximately fifty-three percent

                     (53%) of the song’s total runtime.

                d.   The chorus vocal melody of Gatúbela is also heavily modeled after Phrase A

                     in the Work, as evidenced by sixty-four percent (64%) rhythmic similarity

                     and twenty-six percent (26%) pitch similarity.

                e.   The Gatúbela chorus material constitutes approximately thirty-six percent

                     (36%) of the song’s total runtime and the vast majority of the melodic vocal

                     material (given that the verses are spoken/chanted and not sung).

                f.   Phrase A in the Work contains a distinctive configuration of pitches and

                     rhythms that does not appear to be a mere musical building block, which can

                     be explained away by prior art.

                g.   Gatúbela also uses a synthesizer timbre that is extremely similar to the one

                     used in the Work, characterized by a tinny, thin timbre with a fast attack –

                     somewhere between a guitar synth and a piano synth.




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                    h.   The similarities between Gatúbela and the Work would not have occurred by

                         chance alone.

         38.        Without prompting, numerous non-expert listeners have also independently drawn

  the conclusion that Defendants copied the Work from Alfr3d in their creation of Gatúbela,

  including, without limitation, by making the following comments on Alfr3d’s YouTube posting

  for the Work:

                    a.   @vikalfred, “Karol G ya uso tu beat” (translated: “Karol G already used your

                         beat”).

                    b.   @zUNTOUCHABLE, “También noté que este beat salió antes de

                         GATUBELA . . . increíble) (translated: “I also noticed this beat came out

                         before GATUBELA . . . incredible”).

                    c.   @victorcastro8179, “Este beat es el original de Gatúbela jajaja . . .”)

                         (translated: “This is the beat of the original Gatubela hahaha”).

         39.        Even if certain elements of the Work might be unprotectible standing alone, as a

  whole and based upon the combination and organization of any unprotectible elements, the Work

  is entitled to copyright protection and has been misappropriated by Defendants.

         40.        Plaintiffs are – and, at all relevant times, have been – owners of the copyrights with

  respect to the Work.

         41.        Defendants do not and never did hold any licensing rights with respect to the Work

  and never acquired any other rights in or to it.

         42.        The similarities between Gatúbela and the Work, as described above, are such that

  it is simply not reasonable to believe that Gatúbela could have been created without having heard

  the Work first.




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         43.     Based on all of the foregoing, it is apparent that Defendants copied, interpolated, or

  otherwise used material, unique, and distinct portions of the Work, as previously published, in the

  creation of Gatúbela, making a derivative work, without license or other consent by Plaintiffs.

         44.     On or about September 27, 2024, Plaintiffs, through their counsel, notified

  Defendants of the infringement by letter addressed to UMG and copying, inter alia, the booking

  and management agents for Karol G, Maldy, DJ Maff, and Tavárez (the “Pre-Suit Notice and

  Demand”).

         45.     By and through the Pre-Suit Notice and Demand, Plaintiffs demanded the following

  relief: (i) an accounting of all direct and indirect royalties, revenues, and/or other economic

  benefits generated by the creation and subsequent commercial exploitation of Gatúbela; (ii)

  payment to Plaintiffs of no less than fifty percent (50%) of all direct and indirect royalties,

  revenues, and/or other economic benefits generated by the creation and subsequent commercial

  exploitation of Gatúbela to date; (iii) an agreement to pay Plaintiffs no less than fifty percent (50%)

  of all direct and indirect royalties, revenues, and/or other economic benefits generated by the

  creation and subsequent commercial exploitation of Gatúbela in the future; and (4) formal

  recognition and acknowledgement of Alfr3d as a co-author of Gatúbela.

         46.     Although attorneys for Karol G responded to the Pre-Suit Notice and Demand, none

  of the other Defendants responded.

         47.     Collectively, Defendants have failed to provide the relief requested in the Pre-Suit

  Notice and Demand and have continued to commercially exploit Gatúbela unlawfully by using

  the melodic, harmonic, rhythmic, and lyrical compositions copied from the Work without

  permission.




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         48.     Despite the Pre-Suit Notice and Demand, each of Defendants has continued to

  infringe Plaintiffs’ copyrighted Work.

         49.     The infringement by Defendants is willful, as evidenced by their continuing

  infringement of the Work after the Pre-Suit Notice and Demand was provided to them.

         50.     Defendants have knowingly and intentionally infringed upon Plaintiffs’ rights.

         51.     Defendants’ collective knowledge and intent are established by, among other

  things, the facts set forth herein and by the fact that Defendants, to this day, have neither sought,

  nor obtained, a license from Plaintiffs.

                            AS AND FOR A FIRST CAUSE OF ACTION
                          (Copyright Infringement – 17 U.S.C. § 101, et seq.)

         52.      Plaintiffs repeat and reallege each and every allegation in the foregoing paragraphs

  1 through 51 as though fully set forth herein.

         53.      Plaintiffs are owners of all copyrights with respect to the Work.

         54.      Since the onset of Plaintiffs’ copyright protection on July 12, 2022 and Plaintiffs’

  subsequent procurement of the statutory copyrights, Defendants’ reproduction, distribution, public

  performances, and other commercial exploitation of Gatúbela has been regular, routine, and

  continuous.

         55.      Defendants have not compensated Plaintiffs for using the Work even though they

  received money and other substantial benefits from doing so during the period from August 22,

  2022, to the present.

         56.      During the relevant time period, Defendants, and each of them, engaged in the

  unauthorized reproduction, distribution, public performance, streaming, broadcasting, licensing,

  display, use, and/or other commercial exploitation of Gatúbela, which infringes Plaintiffs’

  exclusive rights to the Work under the Copyright Act.



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         57.      During the relevant time period, Defendants, and each of them, made copies of

  Gatúbela and sold, reproduced, distributed, publicly performed, streamed, broadcasted, licensed,

  displayed, used, and/or otherwise commercial exploited Gatúbela without Plaintiffs’ consent.

         58.      Defendants never received permission, authorization, consent, or even a license

  from Plaintiffs to interpolate, sample, use, or copy the Work, in whole or in part.

         59.      All of the elements of the Work, and the creative selection and combination of

  those elements, are original.

         60.      During the relevant time period, Defendants, and each of them, with knowledge

  of the infringement at issue, took material steps to copy the Work to create and subsequently use

  and monetize Gatúbela. In doing so, Defendants contributed to one another’s infringement by

  assisting in the obtainment and copying of material portions of the Work.

         61.      During the relevant time period, Defendants, and each of them, financially

  benefited from the known infringement at issue and had the ability to supervise, oversee, and

  control the infringing conduct that gave rise to the creation and subsequent use and monetization

  of Gatúbela.

         62.      During the relevant time period, Defendants further infringed upon the Plaintiffs’

  copyrights when they issued and/or authorized others to issue licenses to third parties for the use,

  publication, and exploitation of Gatúbela or established royalty splits with co-Defendants not

  entitled to illegal revenues generated by Gatúbela. These license and agreements were issued

  without any consent, authority, or approval from Plaintiffs.

         63.      Defendants’ conduct in infringing upon the Work has, at all times, been knowing

  and willful and with disregard to Plaintiffs’ rights.




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         64.      It is particularly clear that Defendants’ conduct since the date of the Pre-Suit

  Notice and Demand sent on September 27, 2024, constitutes knowing and willful infringement of

  Plaintiffs’ copyrights.

         65.      As a direct and/or proximate cause of Defendants’ wrongful conduct during the

  relevant time period, Plaintiffs have been and continue to be harmed, and they have suffered and

  continue to suffer actual damages in the form of, inter alia, lost licenses, revenues, royalties, and

  profits, lost goodwill, and a diminution in the value of the Work in an amount to be determined at

  trial, but, in no event, less than $6,000,000.

                             AS AND FOR A SECOND CAUSE OF ACTION
                            (Vicarious/Contributory Copyright Infringement)

         66.      Plaintiffs repeat and reallege each and every allegation in the foregoing paragraphs

  1 through 51 as though fully set forth herein.

         67.      The reproduction, distribution, and creation of derivative works from Gatúbela

  constitutes the direct infringement of the Work and Plaintiffs’ copyrights.

         68.      To the extent any of the Defendants were not personally and directly involved in

  the infringing conduct, all such Defendants are nonetheless liable to Plaintiffs for vicarious or

  contributory copyright infringement because, during the relevant time period:

                            a. All such Defendants had actual or constructive knowledge of the

                               infringing conduct and materially contributed to that infringing conduct

                               by encouragement and assistance.

                            b. All such Defendants had the right and ability to supervise the activities

                               of those engaged in the infringement, including, without limitation,

                               through recording contracts, composition service contracts, distribution




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                             contracts, publishing contracts, license agreements, and/or other

                             relevant agreements.

                         c. All such Defendants failed to exercise their right and/or ability to

                             remedy, stop, or limit the infringing conduct, and, instead, induced,

                             caused, or materially contributed to the infringing conduct.

                         d. All such Defendants derived an obvious and direct financial benefit

                             from the infringement and exploitation of Plaintiffs’ copyrighted work,

                             including without limitation, through revenue sharing and/or royalty

                             payments.

          69.      The acts of infringement, as described herein, were and continue to be willful, in

  disregard of, and with indifference to, the rights of Plaintiffs.

          70.      It is particularly clear that all Defendants knew or should have known of the

  infringing activity at least since the date of the Pre-Suit Notice and Demand sent on September 27,

  2024.

          71.      As a result of Defendants’ acts or omissions as set forth herein, Plaintiffs have

  suffered and continue to suffer substantial damages to their business including, without limitation,

  diversion of trade, loss of profits, injury to goodwill and reputation, and the dilution of the value

  of their rights, none of which may be fully ascertained at this time.

          72.      Defendants have also unlawfully profited from their infringement, constituting

  actual damages in an amount to be determined at trial.

          73.      Accordingly, to the extent any of the Defendants were not personally and directly

  involved in infringing conduct, all such Defendants are nevertheless liable to Plaintiffs for

  vicarious or contributory copyright infringement in an amount to be determined at trial, but, in no




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  event, less than $6,000,000.

                          AS AND FOR A THIRD CAUSE OF ACTION
                                  (Declaratory Judgment)

         74.      Plaintiffs repeat and reallege each and every allegation in the foregoing paragraphs

  1 through 51 as though fully set forth herein.

         75.      Plaintiffs are the authors and copyright owners for the Work and, given the nature

  and extent of Defendants’ infringement, Plaintiffs are entitled to no less than fifty percent (50%)

  of the publishing and other revenues derived from Gatúbela.

         76.      An actual, substantial, and continuing controversy exists between Plaintiffs and

  Defendants given the acts and omissions set forth above, including, without limitation,

  Defendants’ continuing failure and refusal to recognize Plaintiffs’ entitlement to no less than fifty

  percent (50%) of the publishing and other revenues derived from Gatúbela.

         77.      Plaintiffs face a definite threat of future injury as Defendants continue their

  infringement with respect to the Work in violation of Plaintiffs’ legal interests and without

  compensating Plaintiffs appropriately.

         78.      Plaintiffs and Defendants have adverse legal interests, and there is sufficient

  immediacy and reality to warrant the issuance of a declaratory judgment.

         79.      Plaintiffs are entitled to a judicial declaration of their rights and other legal relations

  pursuant to, inter alia, 28 U.S.C. § 2201(a).

          WHEREFORE, Plaintiffs respectfully request that judgment be entered against

  Defendants, jointly and severally, as follows:

                      a. On the First Cause of Action, awarding Plaintiffs injunctive relief
                         and/or damages in an amount to be determined at trial;

                      b. On the Second Cause of Action, awarding Plaintiffs injunctive relief
                         and/or damages in an amount to be determined at trial;



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                      c. On the Third Cause of Action, declaring that, given the nature and
                         extent of Defendants’ infringement with respect to the Work, Plaintiffs
                         are entitled to no less than fifty percent (50%) of the publishing and
                         other revenues derived from Gatúbela;

                      d. Awarding Plaintiffs an accounting, punitive damages, pre-judgment
                         and post-judgment interest, attorneys’ fees, costs, expenses, and
                         disbursements; and

                      e. Awarding Plaintiffs such other and further relief as the Court deems
                         just and proper.

                                    DEMAND FOR JURY TRIAL

         Plaintiffs, under Rule 38 of the Federal Rules of Civil Procedure, request a trial by jury of

  any issues so triable by right.

  Dated: West Palm Beach, FL
         March 12, 2025

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